           Case 1:50-cv-01111 Document 4 Filed 02/16/19 Page 1 of 2



               IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,                            *
                                                     *
                 VS.                                 *        CRIMINAL NO. CR- 76-00001
                                                     *
GEORGE WASHINGTON,                                   *
                                                     *
                Defendant.                           *


DEFENDANT’S REQUEST TO DECLARE CONGRESS UNCONSTITUTIONAL

    AND APPOINT GORDON ARMSTRONG PRESIDENT FOR LIFE, OR IN THE

        ALTERNATIVE, FREE PARKING OUTSIDE NEW COURTHOUSE

        COMES NOW the Defendant, George Washington, (former) U.S. President and

General of the Continental Army1, by and through undersigned counsel, and hereby

moves that the dysfunctional United States Congress be declared unconstitutional by this

Honorable Court, and that undersigned be appointed as President for Life. In the

alternative, Defendant requests that his counsel of record be given free parking outside

the new federal courthouse, also for life, or until counsel’s meter runs out.



                                                     Respectfully submitted,

                                                     s/GORDON ARMSTRONG
                                                     Gordon G. Armstrong, III
                                                     Attorney at Law
                                                     P.O. Box 1464
                                                     Mobile, Alabama 36633
                                                     Telephone: 251-434-6428



1
  George Washington has been deceased since 1799 so the undersigned cannot certify the authority to file
this motion.
         Case 1:50-cv-01111 Document 4 Filed 02/16/19 Page 2 of 2



                           CERTIFICATE OF SERVICE

       I certify that on this 16th day of February, 2019, I electronically filed the
foregoing with the Clerk of the Court using NextGen CM/ECF system, which hopefully
works, and will send notification to whoever may give a rats ……. of record.

                                          s/GORDON ARMSTRONG
                                          Gordon G. Armstrong, III
